               Case 9:20-cr-00032-DWM              Document 188-7          Filed 02/25/22       Page 1 of 2




4458             iMessage - Sent                                                                                iMessage
  4

       Description: (No description)
       From: Me <+18123058776>                                                      Time stamp
                                                                                    (Device time     9/20/2013 5:37:14 PM
                                                                                    +00:00):
       To: +

       Remote party: +

       Direction: Outgoing                   Read status: Read                        Deleted: No

       Just text me when you are free and I will call you before you disappear off grid.

4458             iMessage - Inbox                                                                               iMessage
  5

       Description: (No description)
       From: +                                                                      Time stamp
                                                                                    (Device time     9/20/2013 5:18:56 PM
                                                                                    +00:00):
       To: Me <+18123058776>

       Remote party: +

       Direction: Incoming                   Read status: Read                        Deleted: No

       Flying to CO at 430 PST. Will be free briefly when I land (around 830 MT time) then will be out of coverage for the
       most part of the next 4 days. Would definitely like to talk somehow before I'm off grid.




                                                                                                                25 13187
                                                                                                          20-32-M-DWM
                 Case 9:20-cr-00032-DWM
Case: 280876, IMEI: 354893094448859, Apple iPhone 8
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                                                                                                 Oxygen Forensic® Detective - 11.6.2.100

4458                iMessage - Sent                                                                                     iMessage
  6

        Description: (No description)
        From: Me <+18123058776>                                                      Time stamp
                                                                                     (Device time        9/20/2013 5:16:45 PM
                                                                                     +00:00):
        To: +

        Remote party: +

        Direction: Outgoing                           Read status: Read                Deleted: No

        I will have to call you later this evening if you're free.

4458                iMessage - Sent                                                                                     iMessage
  7

        Description: (No description)
        From: Me <+18123058776>                                                      Time stamp
                                                                                     (Device time        9/20/2013 4:48:11 PM
                                                                                     +00:00):
        To: +

        Remote party: +

        Direction: Outgoing                           Read status: Read                Deleted: No

        Didn't know if you got this yesterday: He's got cancer. Inquired about another "trip" to recover 2 personnel but I told
        him we probably wouldn't have that in the budget this year. Depending on his health I will try and set up a meet and
        greet in the near future just so you can meet.

4458                SMS - Sent                                                                                                  SMS
  8

        Description: (No description)
        From: Me <+18123058776>                                                      Time stamp
                                                                                     (Device time        9/19/2013 7:32:08 PM
                                                                                     +00:00):
        To: +

        Remote party: +

        Direction: Outgoing                           Read status: Read                Deleted: No

        He's got cancer. Inquired about another "trip" to recover 2 personnel but I told him we probably wouldn't have that
        in the budget this year. Depending on his health I will try and set up a meet and greet in the near future just so you
        can meet.




                                                                                                                                 13188
